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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

NEMAN BROTHERS AND ASSOCIATES, INC.,

INTERFOCUS, INC. DBA WWW.PATPAT.COM;
ET AL,
[AND RELATED COUNTERCLAIM]

CASE NUMBER

2:20-cv-11181-CAS(JPRx)

Plaintiff(s)
Vv.

 

ORDER/REFERRAL TO ADR

Defendant(s).

 

 

The Court, having reviewed the parties’ Request: ADR Procedure Selection (Form ADR-01), the Notice
to Parties of Court-Directed ADR Program, or the report submitted by the parties pursuant to Fed. R.
Civ. P. 26(f) and L.R. 26-1, hereby:

ORDERS this case referred to:

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ADR PROCEDURE NO. 1: This case is referred to [_] the magistrate judge assigned to the case
or (_|the magistrate judge in Santa Barbara for such settlement proceedings as the judge may
conduct or direct. Counsel are directed to contact the magistrate judge's courtroom deputy to
arrange a date and time for the ADR proceeding.

ADR PROCEDURE NO. 2: This case is referred to the Court Mediation Panel. Within twenty-
one (21) days, plaintiff shall obtain the consent of a neutral on the Court Mediation Panel who
will conduct the mediation and shall file Form ADR-2, Stipulation Regarding Selection of Panel
Mediator. If the parties have not selected and obtained the consent of a Panel Mediator within
twenty-one (21) days, the ADR Program (213-894-2993) will assign one. Forms and a list of the
Panel Mediators are available on the Court website, www.cacd.uscourts.gov. Absent
extraordinary circumstances, parties cannot request a continuance within three (3) business
days of a scheduled mediation.

ADR PROCEDURE NO. 3: This case is referred to private mediation. Counsel are directed to
contact the private mediator of their choice to arrange a date and time for the mediation.

IT IS FURTHER ORDERED:
The ADR proceeding is to be completed by: July 31, 2021

 

The parties shall file a joint report no later than seven (7) days after the ADR proceeding regarding
the progress of settlement discussions.

The Court sets a further status conference for: August 9, 2021, at 11:00 A.M.

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Dated: April 19, 2021 Aha Ph i fh. Z
United States District Judge

 

 

 

ADR-12 (04/18) ORDER/REFERRAL TO ADR v Page 1 of 1
